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Co

10

11 UNITED STATES DISTRICT COURT
12 CENTRAL DISTRICT OF CALIFORNIA
13

FARID MALEK, an individual; MARY Case No. 2:15-cv-04454-SJO-JEM

14 || MALEK, an individual,
Assigned for all Purposes to the Honorable

 

15 Plaintiffs, S. James Otero in Courtroom 1
vs.
16 PROPOSED] ORDER ON DEFENDANT
BLACKMER PUMP COMPANY, et al. OHN CRANE INC.’s MOTION TO DISMISS
17 FOR LACK OF PERSONAL JURISDICTION
Defendants. PURSUANT TO RULE 12(B) ®) OF THE
18 FEDERAL RULES OF CIVIL PROCEDURE
19 [ied concurrently with Notice of Motion and
otion; Declaration of id: Kyle Gaines; and
20 Declaration of George Springs]
21 Date: July 20, 2015
‘Time: 10:00 a.m.
22 Courtroom: 1
Judge: Hon. S. James Otero
23
FAC Filed: May 7, 2015
24 Trial Date: Not Set
25
26
27

Defendant John Crane Inc.’s Motion to Dismiss for Lack of Personal Jurisdiction

28
Pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure came on regularly for

 

[PROPOSED] ORDER GRANTING DEFENDANT JOHN CRANE INC.’S MOTION TO DISMISS FOR LACK OF PERSONAL
JURISDICTION

 

 

 
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hearing on July 20, 2015, in Courtroom 1 of the above-captioned court. The Honorable
S. James Otero presiding. Plaintiffs appeared through their counsel of record, Weitz &
Luxenberg, P.C. and John Crane Inc. was represented by its counsel of record, Hawkins
Parnell Thackston & Young LLP.

After full consideration of the papers submitted by the parties and oral argument

thereon, the Court orders as follows:

1. John Crane Inc.’s Motion to Dismiss for Lack of Personal Jurisdiction is
GRANTED.
2. Counsel for John Crane Inc. to give notice.

IT IS SO ORDERED.

DATED: 52015

 

HONORABLE JUDGE OF THE UNITED
STATES DISTRICT COURT

2

[PROPOSED] ORDER GRANTING DEFENDANT JOHN CRANE INC.’S MOTION TO DISMISS FOR LACK OF PERSONAL
JURISDICTION

 
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CERTIFICATE OF SERVICE

The undersigned counsel for Defendant John Crane Inc. hereby certifies that a
true and correct copy of the forgoing document was filed with the Court and served
electronically through the CM-ECF (Electronic Case Filing) system to all counsel of
record registered to receive a Notice of Electronic Filing for this case on this 18th day
of June, 2015. To ensure service to the parties that have yet to appear in the federal
court action, it was also served electronically through Lexis File & ServeXpress to all

counsel of record in the state court action on this 18th day of June, 2015.

/s/ J. Kyle Gaines
J. Kyle Gaines

 

CERTIFICATE OF SERVICE
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